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                        Delendont(s)

                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of November 01. 2024 in the county of Dona Ana in the State and District of New Mexico,
the defendant violated   I U.S.C. $ 1324(aXlXAXvXlXConspiracy to Violate 1324 - All subsections),
an offense described as follows:

Knowingly, intentionally, and unlawfully conspired, combined, confederated and agreed with others known and unknown,
to commit offenses against the United States, namely: to transport, move, and attempt to transport and move an alien
within the United States by means of transportation and otherwise




        This criminal complaint is based on these facts:
On November 3,2024, Border Patrol Agents assigned to the Las Cruces, New Mexico Disrupt Unit received information
from an Agent assigned to the El Paso Hardened Facility in El Paso, Texas regarding Defendant MALDONADO-Flores,
Alejandro, who had been arrested for being in the United States illegally. In a Post Miranda interview, Defendant
MALDONADO-Flores provided information stating he had dropped offan unaccompanied minoi at a residence located
in Dona Ana County, New Mexico.




        A Continued on the attached sheet.




Sworn to
             H.,rLUv6,-^a.K-5                                                          Prlnted name and title




Date: November6.2024


City and state: Las Cruces, N,M.                                    Kevin R. Sweazea, U.S. Magistrate |udge
                                                                                       Printed name and title
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             CONTINUATION OF CRIMINAL COMPLAINT



                                    STATE AND DISTRICT OF NEW MEXICO


                UN]TED STATES OF AMERICA

                            V.
                Alejandro MALDONADO-Flores

Continuation of Statement of Facts:
On November 4,2024, due to the information received from Defendant MALDOMDO-Flores, Border PatrolAgents
assigned to the Las Cruces Border Patrol Station Disrupt Unit conducted surveillance at a residence located in Dona Ana
County, New Mexico. Agents approached the residence and knocked on the door, An individualanswered the door and
was questioned as to their citizenship, to which the individual admitted to being in the United States illegally. Agents
informed the individual of the investigation, and the individual allowed Agents to enter the residence, Agents encountered
four adults and one unaccompanied minor. Agents questioned the four adult individuals as to their citizenship to which
they all admifted to being illegally present without authorization to enter or remain in the United States. All five adult
individuals were placed under arrest and the unaccompanied minorwere transported to the Las Cruces Station.

ln a post Miranda interview, Defendant MALDONADO-Flores, Alejandro stated he crossed illegally into the United States
near Santa Teresa, New Mexico on October 30,2024. Defendant MALDONADO-Flores stated hewas contacted by an
unknown individual and was offered payment for transporting illegal aliens from El Paso, Texas to Las Cruces, New
Mexico, to which he agreed. Defendant MALDONADO-Flores stated that he transported the illegal aliens that were found
inside the residence in Dona Ana County, New Mexico.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth herein, I have
not included each and every fact known to me concerning this investigation.

Assistant United States Attorney Randy Castellano was presented with the afiorementioned facts and authorized criminal
prosecution of Defendant MALDoNADo-Ftores, Alejandro for 8 u.s.c. 1324(a)(1)(A)(v)(t).

Contin uation of Statutory Language:




                                                                           Palafox, Filiberto
                                                                           Filing Agent
